                                       
                                       
                               Court of Appeals
                       Sixth Appellate District of Texas
                                       
                                       
                                   JUDGMENT
                                       
                                       
                                       
Reginald Sanders, Appellant
No. 06-14-00153-CR	v.
The State of Texas, Appellee

Appeal from the 202nd District Court of Bowie County, Texas (Tr. Ct. No. 09-F-363-202).  Opinion delivered by Chief Justice Morriss, Justice Carter and Justice Moseley participating.


As stated in the Court's opinion of this date, we find that the appeal should be dismissed for want of jurisdiction.  Therefore, we dismiss the appeal.
We note that the appellant, Reginald Sanders, has adequately indicated his inability to pay costs of appeal.  Therefore, we waive payment of costs.

RENDERED OCTOBER 22, 2014
BY ORDER OF THE COURT
JOSH R. MORRISS, III
CHIEF JUSTICE

ATTEST:
Debra K. Autrey, Clerk
